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|| DEBORAH HOOPER

 

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2683 Via de la Valle, #G-252
Del Mar, CA 92014
(760) 742-1620

Plaintiff In Pro Se — AUG 2 0 2007 }.

CLERK U.S. DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

BY ofe> DEPUTY

 

 

 

 

 

 

 

 

 

UNITED STATES DISTRICT CourT
SOUTHERN DISTRICT, OF CALIFORNIA

07CV 1647 JAH CAB

DEBORAH HOOPER, an individual, . Case No.
Plaintiff, : COMPLAINT FOR
DAMAGES
Vs. .
a (1) 42 U.S.C. § 1983 (Excessive
COUNTY OF SAN DIEGO; SAN DIEGO force)
COUNTY SHERIFF’S DEPARTMENT; | (2) Cal. Const., Art. I § 13
SHERIFF WILLIAM B. KOLENDER, in | — (3) Cal. Civ. Code § 52.1
his official and individual capacities;

DEPUTY SHERIFF KIRK TERRELL, in _ DEMAND FOR JURY TRIAL
his official and individual capacities; and
DOES 1 through 10,

Defendants.

 

 

JURISDICTION AND VENUE
1.The claims herein are asserted pursuant to the United States Constitution and 42
U.S.C. § 1983, et seq., and the jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§
1331, 1367(a).
2. The acts complained of arose in this District, and therefore venue lies in this District

pursuant to 28 U.S.C. § 1391.

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PARTIES
3. Plaintiff is an individual. At all times relevant hereto, plaintiff was a residence of
the County of San Diego.

4. Defendant County of San Diego (“San Diego” ) is a local governmental public entity

existing under the laws of the State of California. Defendant San Diego County Sheriffs

Department (““SDCSD”) is also a public entity and an agency of San Diego. Defendant
William B. Kolender (“‘Kolender” ) was and is, at all times relevant, the San Diego County
Sheriff, while defendant San Diego County Sheriffs Deputy Kirk Terrell (“Terrell”) was, at
all times relevant, a San Diego County Deputy Sheriff.

5. Plaintiff is ignorant of the true names and capacities of defendants sued herein as
Does | through 10, inclusive, and therefore sues these defendants by such fictitious names.
Plaintiff will give notice of their true names and capacities when ascertained. Plaintiff is
informed and believes and thereon alleges that defendants Does 1 through 10 are responsible
in some manner for the damages and injuries hereinafter complained of. Plaintiff sues Does
1 through 10 in both their individual and official capacities. |

6. Plaintiff sues defendants Kolender and Terrell, and DOES in both their individual
and official capacities.

7. Plaintiff is informed and believes and based thereon alleges that defendants San
Diego, SDCSD and Kolender are responsible for implementing, maintaining, sanctioning, or
condoning a policy, custom or practice under which the illegal or wrongful acts hereinafter
complained of occurred. By reason of this policy, practice or custom, these defendants. are |
liable for the damages hereinafter complained of.

8. Plaintiff is informed and believes and thereupon alleges that at all times relevant
herein defendants, and each of them, were the agents, servants and employees of the other

defendants. At all times herein, defendants, and each of them, were acting under the color

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of state law.
INCIDENT FACTS

9. In the early evening: of May 9, 2006, in the vicinity of 129 El Camino Real,
Encinitas, California, defendant Terrell arrested plaintiff. During the course of that arrest,
plaintiff was subjected to excessive force as a result of defendants’ actions and inaction. The
excessive force including allowing or orderinga SDCSD police dog to attack and bite plaintiff
on her head, causing plaintiff to suffer serious and life threatening injuries. Thereafter,
plaintiff was incarcerated in the SDCSD jail on a charges of violating, inter alia, Cal Pen.
Code§ 148A).

10. Plaintiff is informed and believes and based thereon alleges that among the
policies, practices and customs referred to in paragraph seven tolerated and/or condoned by
defendants San Diego and SDCSD “hurt a man — charge a man.” Under this policy, practice
or custom, if an officer believes he has wrongly hurt a person, the officer will seek to secure
the filing of a criminal charge against the person, such as a charge of violating Cal. Penal
Code § 148. The officer seeks the filing of such charges in the belief that a conviction will
prevent the person from suing for his injuries wrongfully inflicted by the officer. Tolerating™
or condoning a “hurt a man — charge a man” encourages officers to use excessive force.

FIRST CAUSE OF ACTION -- 42 U.S.C. § 1983
(Against all Defendants)

11. Defendants’ conduct as alleged violated plaintiffs rights as secured by the Fourth
and Fourteenth Amendments to the United States Constitution, thereby entitling plaintiff to
sue for damages under 42 U.S.C. § 1983.

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SECOND CAUSE OF ACTION -- CAL. CONST., ART. I § 13
(Against San Diego, SDCSD Only)
12. The use of unreasonable and/or excessive force by the officers against plaintiff
during the course of his arrest violated plaintiffs rights under the California constitution,

Article I, sections 7, 13, thereby entitling plaintiff to sue for damages directly under these

provisions of the California constitution.

_ 13. Under Cal. Gov’t Code § 815.2(a), defendants San Diego and are liable for the
misconduct of the officers and deputies, committed within the course and scope of their
employment.

THIRD CAUSE OF ACTION -- CAL. CIV. CODE § 52.1(b)
(Against San Diego County and SDCSD Only)

14. The use of unreasonable and/or excessive force against plaintiff during the course
of his arrest violated plaintiffs state and federal rights through intimidation, threats and/or
coercion, thereby entitling plaintiff to sue for damages under Cal. Civ. Code § 52.1(b).

15. Under Cal. Gov’t Code § 815.2, defendants San Diego County and SDCSD are
liable for the misconduct of the San Diego County Sheriff's Deputies, committed within the |-
course and scope of their employment.

16. Within six months of the date of plaintiff's injuries, plaintiff timely filed a claim

for damages under Cal. Gov’t Code § 910 with defendant San Diego. While that claim was

pending, criminal proceedings arising from plaintiff's May 9, 2006 arrest were pending
against plaintiff, and those proceedings were still pending in the San Diego Superior Court
when San Diego denied plaintiff's § 910 claim. The criminal proceedings were not resolved
in the superior court until on or about February 21, 2007. This lawsuit is commenced within
six months of February 21, 2007, and is therefore timely. Cal. Gov’t Code § 945.3

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PRAYER FOR RELIEF

17. Wherefore, plaintiff seeks judgment as follows:

18. Compensatory general and special damages in an amount according to proof;

19. As against the individual defendants only, punitive damages;

20. In additional to actual damages identified above, statutory damages as allowed by
law for each wrongful act;

21. Attorneys fees and costs under Civil Code §§ 52(b)(3), 52.1(h); C.C.P. § 1021.5;

22. Attorneys fees and costs under 42 U.S.C. § 1988; and

23. The costs of this suit and such other relief as the Court finds just and proper.
DATED: August 20, 2007

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Deborah Hooper
Plaintiff In Pro Se

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1 DEMAND FOR JURY TRIAL
2 - Plaintiff demands a jury trial.
3 | DATED: August 20, 2007
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° A Thorpe fle i
7 Plaintiff Jn Pro Se
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Case 3:07-cv-01647-JAH-KSC Document1 Filed 08/20

 

 

CIVIL COVER SHEET

 

1 (a) PLAINTIFFS (Check box if you are representing yoursel rif DEFENDANTS

DEBORAH HOOPER, an individual

 

 

 

 

  

COUNTY OF SAN DIEGO; SANDIEGO, VISALIA EK CORT, SHE aire
WILLIAM B. KOLENDER, in hiq QQURAMERDS DEE TSN OOD SVNEA
KIRK TERRELL, in his official argingividual capacities, and DOES | tfyOugihPut

 

{b) County of Residence of First Listed Plaintiff (Except in U.S. Plaintiff Cases):

. ‘ County of Residence of First Listed Defendant (In U.S. Plaintiff Cases Only):
Sa:n:Diego-

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elton

(c) Allorneys (Firm Name, Address and Telephone Number, if you are representing
yourself, provide samc.)

Deborah Hooper

Auorsfys Cif Known) &

2683 Via de la Valle, #G-252
Del Mar, CA 92014 ’ JAH CAB
(760) 742-1620 07 CV 1647

Plaintiff In Pro Se
1. BASIS OF JURISDICTION (Place an X in one box only.)

 

 

HI CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
{Place an X in onedbox for plaintiff and one for defendant.)

(7 1U.S. Government Plaintiff , Ba.3.Bederal:Question (U.S, PTF DEF PTF DEF

 

 

 

Gavernment Not a Party) Citizen of This State 1]1 21 Incorporated or Principal Place O14 O4
of Business in this State
(12U.S. Government Defendant (4 Diversity (Indicate Citizenship | Citizen of Another State O02 02 Incorporated and Principal Place 5 (5
of Parties in Item 111) of Business in Another State
Citizen or Subject of a Foreign Country [13 (13 Foreign Nation Oo 6

 

1V. ORIGIN (Place an X in one

| Original

Proceeding State Co

[12 Removed from

box only.)

03 Remanded from

urt Appellate Court

114 Reinstated or

Reopened

(15 Transferred from another district (specify):

(16 Multi- = 1) 7 Appeal to District
District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: & Yes (CI No (Check 'Yes' only if demanded in complaint.)
@ MONEY DEMANDED IN ComPLaINt: sAccording t-proof

V1. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

CLASS ACTION under FRC.

P.23: DYes No

~ 42.U.8.C. Section. 1983;.excessive force
Vit. NATURE OF SUIT (Place an X in one box onty)

 

OTHER STATUTES

FD 400 State Reapportionment

(1) 450 Antitrust

0430 Banks and Banking

(11 450 CommereotCC
Rates/etc.

(3 460 Deportation

(3 470 Racketeer Influenced
and Corrupt
Organizations

DO 8 10 Selective Service

C1 850 Securilies/Commodities
/Exchange

0 875 Customer Chatlenge 12
USC 3410

0 891 Agricuttural Act

©) 892 Eeonomic Stabilization
Act

(0 893 Environmental Matters

07 894 Energy Allocation Act

D 895 Freedom of Information
Act

() 900 Appeal of Fee Determi-
nation Under Equal
Access to Justice

D 950 Constitutionatity of
State Statutes

C1] 890 Other Statutory Actions

 

CONTRACT

D 110 tnusurance

0) 120 Marine

D 130 Miller Act

O) 140 Negotiable Instrument

T] 150 Recovery of
Overpayment &
Enforcement of
Judgment

1 151 Medicare Act

© 152 Recovery of Defaulted
Student Loan (Excl.
Veterans)

OD 153 Recovery of
Overpayment of
Veteran's Benefits

(5 160 Stockholders’ Suits

J 190 Other Contract

0) 195 Contract Product
Liability

REAL PROPERTY

1] 210 Land Condemnation

11220 Foreclosure

11 230 Rent Lease & Ejectment

0 240 ‘Torts to Land

D 245 Tort Product Liability

1] 290 AN Other Real Property

100 345 Marine Product

TORTS
PERSONAL INJURY
(J 310 Airplane
(1 315 Airplane Product
Liability
(1320 Assault, Lihcl&
Slander
1 330 Fed. Employers’
Linbility
CJ] 340 Marine

Liability

(350 Motor Vehicle

[1 355 Motor Vehicle
Product Liability

C1 360 Other Personal
Injury

0 362 Personal injury-
Med Malpractice

D365 Personal Injury-
Product Liability

DD 368 Asbestos Personal
injury Product
Liability

 

 

 

1370 ‘Other Fraud

(37! Truth in
Lending

(2 3 80 Other Personal
Property
Damage

CO 385 Property
Damage
Product
Liabilily

BANKRUPTCY

CO 422 Appeal 28 USC
488

0 423 Withdrawal 28
USC 157

CIVIL RIGHTS

(1441 Voting

01442 Einployment

(443 Housing/Acco-
mimodations

1 444 Welfare

Bi 440.Other Civil
Rights

PRISONER
PETITIONS
[1 St Motions to
Vacate Sentence
Habens Corpus
(1 530 General
O01 $35 Death Penalty
1 $40 Mandamus/
Other
CO 550 Civil Rights
(0) 555 Prison Condition
FORFEITURE /
PENALTY
11610 Agriculture
(11 620 Other food &
Drug
(1 625 Drug Related
Seizure of
Property 24 USC
gt
(J 630 Liquor Laws
C640 RR. & Truck
C) 650 Airline Regs
0) 660 Occupational
Safety /Nealth
690 Other

 

LABOR
CQ 710 Fair Labor Standards
Act
0 720 Labor/Mgmt.
Relations
C1 730 Labor/Mymt.
Reporting &
Disclosure Act
(J 740 Railway Labor Act
CJ 790 Other Labar Litigation
7 791 Empl. Ret ine
Sccurity Act.
PROPERTY RIGHTS
{] 820 Copyrights
0 830 Patent
() 840 ‘Trademark
SOCIAL SECURITY
DO 861 BIA (1395ff)
CO 862 Black Lung (923)
D 863 piwemtww
(405(4))
DD 864 SSID, Title XVI
(1 865 RSI (405(g))
FEDERAL TAX SUITS
7 870 Taxes (U.S. Plaintiff
or Defendant)
0) 871 IRS-Third Party 26
USC 7609

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VHl{a). IDENTICAL CASES: Has this action been previously Filed and dismissed, remanded or closed? BJNo [J Yes

Wf yes, list case number(s):

 

FOR OFFICE USE ONLY.

Case Nomber:

 

 

CV-71 (01/03)

CIVIL COVER SHEET

Page | of 2
 

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CIVIL COVER SHEET a %
AFTER COMPLETING THE FRONT SIDE OF FORM JS-44C, COMPLETE THE INFORMATION REQUESTED BELOW.

VHI(b). RELATED CASES; Have any cases been previously filed that are related to the present case? Bine O ves

If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check aif boxes that apply) CIA. Appoar to arise from the same or substantially identical transactions, happenings, or events,
OB, Involve the same or substantially the same parties or property;
CIC. hivolve the same patent, trademark or copyright;

 

CID. Call for determination of the samcor substantially identical questions of law, or
CIE. Likely for other reasons may entai! unnecessary duplication of labor if heard by different judges.

 

IX. VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)
CO) Cheek here if the U.S. government, its agencies or employces is a named plaintiff.

County of San Diego

List the California County, or State if other than California, in which EACH named defendant resides. (Use an additional sheet if necessary).
O Cheek here if the U.S. government, its agencies or employees is a named defendant.

'

Unknown as to each defendant

List the California County, or State if other than Catifornia, in which EACH claim arose. {Use an additional sheet if necessary)
Note: tn land condemnation cases, use the location of the tract of land involved.

 

DA.
X. SIGNATURE OF ATTORNEY (OR PRO PER): Leben ph Ary Dare August 20, 2007

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the Ming and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in Seplember 1974, is required pursuant to Local Rule 3- Lis not
filed but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions
sheet.)

 

Key to Stalistical codes relating to Social Security Cases:

Nature of Suit Code Abbrevintion Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Sacial Security Act, as amended>
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services ander the,
program. (42 U.S.C. 1935FP(b))

862 Bt All claims for "Black Lung” benefits under ‘Title 4, Part B, of the Federal Coal Ming Health and Safely Act of 1969.
(30 U.S.C. 923)

863 pDiwc All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
. amended; plus all olaims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

863 - DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(x))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social
Security Act, ns acknded, ‘

865 RS! All claims for retirement (ald age) and survivors benefils under Tithe 2 of the Social Security Act, as amended, (42
U.S.C. (g))

 

CV-71 (01/03) CIVIL COVER SHEET Page 2 of 2

 

 
